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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. SACV 21-01544-JLS (DFMx) Date October 29, 2021

 

 

Title Kee Sook Ahn v. Glendora Plaza Co., A General Partnership et al

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

Elsa Vargas for Melissa Kunig None Reported
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON STIPULATION
TO DISMISS WITH PREJUDICE

The Court, having been advised that this action has been resolved by a Notice of
Voluntary Dismissal [12], hereby orders this action dismissed with prejudice. The Court hereby
orders all proceedings in the case vacated and taken off calendar.

Any pending orders to show cause are hereby discharged.

 

Initials of Deputy Clerk eva/mku

 

 

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